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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:04-cr-00037-MP-AK

DAVID OLIN WILLIAMSON,
BENITA VAZQUEZ BECK,
LATISHA LASHELLE CARTER,

      Defendants.
___________________________/

                                           ORDER

       This matter is before the Court following entry of recusal by District Court Judge Stephan

P. Mickle and assignment of this case in its entirety to the undersigned judge. All defendants had

sentencing hearings scheduled for dates which conflicted with this Court's schedule. The Court

held a telephone conference with attorneys for all parties present on Friday, June 3, 2005 to

reschedule the sentencing hearings. No party objected to the rescheduling of the hearings.

       ORDERED AND ADJUDGED:

       1.      Defendant David Olin Williamson's sentencing hearing is rescheduled for Friday,
               July 1, 2005 at 9:30 A.M.

       2.      Defendant Benita Vazquez Beck's sentencing hearing is rescheduled for Friday,
               July 1, 2005 at 9:00 A.M.

       3.      Defendant Latisha Lashelle Carter's sentencing hearing is rescheduled for Friday,
               July 8, 2005 at 9:00 A.M.

       DONE AND ORDERED this 7th               day of June, 2005.



                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
